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Fi|l in this information to identify your case:

 

 

 

 

, "i; z v b m )' "`"`
Debtor1 E/-§i/\fe: z,, § §M,¢tj"‘§

,` t imast LaslName § w;§§: §§qu \?,®RK
Debtor 2 § z gm ms w if §§
(Spouse, its inng) F¢rsr Name weddle blame taxi blame §§ ,¢ L i"if VEMB § " ita ghé N_§N§"<f;\ ‘ im §

f
Uniied States Bankruptcy Court for the: USXZJV\J Disuict ot /\i \"
Case number ec%" / / ` 7 lo /Ql:::(§! 7 k ` ` m ChBCK ii this iS an

w knoan amended filing

 

 

 

Officia| Form 108
Statement of |ntention for lndividuals Filing Uncler Chapter 7 12/15

 

lf you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

¥ou must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

lt two married people are nling together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured C|aims

 

1. For any creditors that you listed in Part 1 of Schedufe D: Credirors Who Have Claims Secured by Property {Official Form 1060), fill in the
information below.

 

identify the creditor and the property that is collateral What do you intend to do with the property that Dicl you claim the property
secures a debt? as exempt on Schedule C?
. f'
§ar:d;t:or’s /} 57 </ OQ/?éz;w ij Sun'enderthe property. 0 No
/ ’ “ a Retain the property and redeem it. ij Yes
. . f 6
E;:::?;'On 0 q 67 k w r":,“”‘(`_f/\i c /\j n Rerain lhe.propeny and enter into a
' ,s - Reaffirmarion Agreemenr. 7
securing debt: j x g <‘\\, ,r ` m
( di sir §',‘FT} ,>‘"V f URetain the property and [explain]:_,m“, R")""/l;gj<-?
/ / ;} j _:7 \ jt L./~»/ 721 {r;mt»;:s':. LY&M;
C'edit°"$ C] Surrender the propeny, n No
namer
n Retain the property and redeem it. i;l Ygs

Descriplion of

properly
securing debt:

n Retain the property and enter into a
Reaffinnation Agreemenr.

U Retain the property and [explain]:

 

CreditOr`S m Surrender the property a NG
name:
m Refain the property and redeem it. n Yes

Description of
property
securing debt;

a Re!ain the property and enter into a
Reaffirmation Agreement.

n Retain the property and [explain]:

 

Creditor’s Cl Surrenderthe property. n NO
name:
n Retain the property and redeem it. m Yes

Description of
property
securing debt

n Reiain the property and enter into a
Reaffirmat/'on Agreement.

m Retain the property and [explain]:

 

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l)el)lorl '; /V'!;):i) }/‘} *M§::j;`)f;/ng "{:) hig'w.# Case number (I!/<nown}§.'"m f 47 .w z f/e§b<`:gymkl {'C;)

F):s!Name wallian

List Vour Unexpired Personal Properfy Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (foicia| Form 1066),
till in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2),

Describe your unexpired personal property leases Will the lease be assumed?

l_essor’s name: 13 No
a Yes

Description ot leased

property:

Lessor's name: n NO
m es

Description of leased Y

property:

Lessor’s name: [;] No

Description of leased m yes

propeny:

Lessor‘s name: {;] NO
n \’es

Descriplion of leased

property:

Lessor’s names [] Ng
D Yes

Description of leased

property:

Lessor`s name: l;] NO

. . [;l ¥es

Descnptron ot leased

property:

Lessor`s namer a No
m Yes

Description of leased
property:

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x…@Mx

 

Signature of Debtor 1 Signature of Debtor 2
,O’ s2
Date MQ q D" _U q Da|e
MM! on z YYY¥ MM/ DD.» Yvw

 

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